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IN THE UNITED sTATEs DlsTRICT CoURT ”;<b
FoR THE WESTERN DISTRICT oF TENNESSEE ‘?S;/ @»
EAsTERN DIvIsIoN §§ /\¢ Q’<»d,
}/"<;:‘/§f.- 134 QC"
UNITED STATES OF AMERICA, "/,j‘::%£;?,éz) //
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Plamtlt`f, ’7/ /`

VS. No. l-O4-lOO99-l-T

GURDIAL SINGH,

\-/\_/\_/\_/\_/\_/\-,/\_/\_/

Defendant.

 

ORDER DENYING DEFENDANT’S MOTION TO ALLOW DEFENDANT TO
TRAVEL TO INDIA

 

Defendant Gurdial Singh, currently under the supervision of pre-trial services, files
this motion to allow him to travel to India for two (2) Weeks to visit his mother, Whose
health in failing At a hearing regarding detention, the court ordered that Singh surrender
his passport and not obtain another one. Because Singh has family in India, he is considered
a flight risk. Therefore, Defendant’s motion to allow him to travel to India is DENIED.

IT IS SO ORDERED.

Qaaw/AW

S D. TODD
UN ED STATES DISTRICT JUDGE

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DATE

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This notice confirms a copy of the document docketed as number 53 in
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Honorable J ames Todd
US DISTRICT COURT

